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 Attorneys for the Hon. Russell F. Nelms (Ret.) as Litigation
 Trustee for The Think Finance Litigation Trust

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


In re                                                            Chapter 11

THINK FINANCE, LLC, et al.1,                                     Case No. 17-33964-hdh11

                           Debtors.                              (Joint Administration)
-----------------------------------------------------------

THE HONORABLE RUSSELL F. NELMS
(RET.), LITIGATION TRUSTEE FOR THE                               Adversary Case No. 20-03099-hdh
THINK FINANCE LITIGATION TRUST,

                           Plaintiff,

v.

ELEVATE CREDIT, INC.,

                           Defendant.


 AMENDED COMPLAINT TO AVOID AND RECOVER TRANSFERS PURSUANT TO
          11 U.S.C. §§ 544 AND 550, AND §§ 24.001 ET SEQ. OF THE
             TEXAS UNIFORM FRAUDULENT TRANSFER ACT

         The Honorable Russell F. Nelms (Ret.) (the “Trustee” or “Plaintiff”), as Litigation

Trustee for the Think Finance Litigation Trust (the “Trust”), created pursuant to the confirmed

         1
          The Debtors are: Think Finance, LLC (3098), Think Finance SPV, LLC (4522), Financial U, LLC (1850),
TC Loan Service, LLC (3103), Tailwind Marketing, LLC (1602), TC Administrative Services, LLC (4558), and TC
Decision Sciences, LLC (8949).
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plan in the jointly administered Chapter 11 cases of Think Finance, LLC, et al. (the “Debtors”),2

by the Trustee’s undersigned counsel, hereby files this Amended Complaint against Elevate

Credit, Inc. (“Elevate” or “Defendant”), and respectfully represents as follows:

                                                INTRODUCTION
         1.       This case stems from the dramatic rise of a fraudulent internet lending enterprise

that generated billions of dollars in revenue by utilizing what federal and state prosecutors refer

to as an illegal “rent-a-tribe” scheme in an attempt to avoid state usury laws, and charge interest

rates as high as 400% to consumer borrowers in dire need of short term loans, by exploiting

Indian Tribal Sovereign Immunity. The consumer borrowers were often financially devastated

under the burden of the exorbitant interest rates.

         2.       The illegal rent-a-tribe scheme worked as follows: a consumer borrower applies

for a loan on the internet and is immediately approved. The loan is then funded through a Native

American Indian Tribe which obtained the funds from a credit source the Debtors provided. A

joint venture between an investment fund, Victory Park Capital (“VPC”), and the Debtors,

referred to as “GPLS”, then purchased approximately 99% of the participation interests in the

loan within 48 hours. The tribe was left with approximately 1% of the interests, less the agency

and service fees charged by the Debtors as well. The tribe was made to look like the lender, but

it was the Debtors and their affiliates that were the true lender.

         3.       The scheme created massive contingent and actual liabilities as numerous federal

and state regulators, and consumer borrower tort claimants, investigated and prosecuted claims


         2
           Under § 5.3 of the Debtors’ confirmed Second Modified Amended Plan of Reorganization (“Plan”): (i)
the Think Finance Litigation Trust was established on the effective date of the Plan, (ii) this case and other causes of
action specified in the Plan were transferred and assigned to the Trust, (iii) the Honorable Russell F. Nelms (Ret.)
was appointed to serve as the Litigation Trustee, and (iv) the Litigation Trustee on behalf of the Trust was
substituted in for the Committee as the Plaintiff to take over the prosecution of all cases. In addition, under the Plan,
the Trustee shares the attorney-client privilege with the “Reorganized Debtor.”



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against the Debtors and their officers, directors, investors and other participants alleging civil

RICO violations, violations of the Dodd-Frank Wall Street Reform and Consumer Protection

Act, state usury statute violations, tort claims, and breaches of fiduciary duties, among others,

seeking billions of dollars in damages (the “Legacy Liabilities”).

        4.      When the tribal lending industry in which the Debtors operated began to collapse

under the weight of similar claims against its competitors, including CashCall/Western Sky and

AMG, the Debtors’ officers and directors realized the end of their predatory practices was near.

With the intent to hinder, delay, and/or defraud the Debtors’ creditors, the Debtors transferred to

a newly formed entity, Elevate, the most valuable assets of the Debtors consisting of all of the

assets of the Debtors’ direct lending businesses which did not involve the Native American tribes

used by the Debtors in their rent-a-tribe operations. This transfer rendered the assets out of the

reach of creditors through a purported tax-free spin-off and left the Debtors holding the Legacy

Liabilities.3 Elevate paid $0.00 to the Debtors in consideration for the hundreds of millions of

dollars in assets it received. In addition, after the Debtors transferred their most valuable

business assets to Elevate, the Debtors’ insiders and shareholders, which included certain officers

and directors, received all of Elevate’s stock and the Debtors’ cash dividends.

        5.      Less than 18 months later, Elevate filed its S-1 and subsequently conducted a

successful Initial Public Offering (“IPO”), and has generated billions of dollars in revenue since

the spin-off. The Debtors, however, were left grossly undercapitalized and without sufficient

assets to pay their debts, and were burdened with the Legacy Liabilities. The spin-off left the

Debtors spiraling into an inevitable bankruptcy, and its creditors with no adequate way to

recover on the Debtors’ obligations.


        3
           Scott Tucker, the founder of AMG Services was convicted of making illegal payday loans and
racketeering in October 2017 and is currently serving a sentence of 16 years and 8 months in federal prison.

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       6.      The inception of the Debtors’ fraudulent lending scheme dates back more than a

decade. Prior to rebranding itself in 2010, “Think Finance, Inc.” was known as “ThinkCash,

Inc.”, and it operated as an on-line payday lending website rather than through a “brick and

mortar” lending store. Ken Rees (“Rees”) was the Chief Executive Officer and Chairman of the

Board of ThinkCash, Inc. (“ThinkCash”).

       7.      ThinkCash provided short-term installment loan products with funding from the

First Bank of Delaware (a federally chartered bank) from its formation through 2010. The

interest charged to its consumer borrower customers far exceeded the state usury laws where the

loans were being offered.        Federal regulators, including the Federal Deposit Insurance

Corporation (“FDIC”) and Department of Justice (“DOJ”), put a stop to the practice and what

became commonly referred to as an illegal “rent-a-bank” scheme. The First Bank of Delaware

was ultimately shut down and required to pay millions in civil penalties.

       8.      Despite the loss of its funding source, and the potential liabilities accruing from

the rent-a-bank model, the enterprise looked for ways to continue offering short-term installment

loan products through the internet at usurious rates to maintain its hefty stream of profits.

       9.      In an attempt to evade federal and state lending laws and regulators once again,

Rees and ThinkCash decided to switch to the rent-a-tribe model already being used by CashCall,

Inc. (“CashCall”) and AMG Services, Inc. (“AMG”). Rees even obtained legal advice from

CashCall’s banking/regulatory counsel, and met with tribal leaders who worked with CashCall,

to surreptitiously learn the business model. He then approached members of the Chippewa Cree

Tribe and Otoe-Missouria Tribe, and later the Tunic Biloxi Tribe, (collectively, the “Tribes”) for

the purpose of establishing a “rent-a-tribe” enterprise.




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       10.     In an attempt to cloak its dark past, ThinkCash renamed the company Think

Finance, Inc. (“Old Think Finance”). Beginning in 2011, it helped establish and control the

operations of Plain Green, LLC (“Plain Green”), and Great Plains, LLC (“Great Plains”), and

later “MobiLoans” — the tribal enterprises that served as fronts to disguise Old Think Finance’s

roles in the lending model and to ostensibly shield the scheme from liability. Pursuant to this

scheme, Old Think Finance made loans with annual percentage rates in excess of 400%—far in

excess of the interest cap in every state that has usury laws.

       11.     Upon information and belief, the companies also obtained initial funding for the

Tribes which had little or no money to lend, secured revisions to the tribal laws, and located

banks for electronic fund transfer services to promote the scheme. The companies further

assigned the Tribes pre-registered trade names and URLs, and provided them access to its

underwriting algorithm. Furthermore, upon information and belief, the companies provided the

Tribes certain collection, servicing, marketing, and human resource services to facilitate the

Tribes’ entry into this market.

       12.     After generating billions of dollars in revenue with the rent-a-tribe scheme, the

illegal model came under well-publicized and heavy attack in the lending industry in 2012-2013

by the FDIC, Department of Justice (“DOJ”), Securities and Exchange Commission (“SEC”),

various state regulators, and the newly created Consumer Finance Protection Bureau (“CFPB”),

endangering Old Think Finance’s goal of an initial public offering. Major competitors in the

industry, including CashCall and AMG, were prosecuted through complaints seeking hundreds

of millions of dollars in penalties and damages, and even criminal indictments in some cases.

Automated Clearing House (“ACH”) processors were also ordered by the FDIC and other

regulators including the New York Department of Financial Services (“NYDFS”) to cease and



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desist all electronic fund transfers for entities involved in tribal lending.   In addition, the

consumer borrowers began to complain of being defrauded and notified their state attorney

general and organized for class actions. In the face of this scrutiny and fearing prosecution for

its role in the scheme, VPC decided to abandon Old Think Finance and stop purchasing loans

from the Tribes through its GPLS vehicle.

       13.     In an attempt to save its lucrative cash stream, Old Think Finance delayed the

regulators at every turn. It hired Martin Wong as a “Chief Integrity Officer” to deal with the

regulators, helped form a trade association called “NAFSA”, and hired lobbyists to protect its

scheme. It even assisted the Otoe-Missouria Tribe behind the scenes in an action the Tribe filed

in New York against the NYDFS challenging the agency’s “Operation Chokepoint” and its

related attempt to stop tribal lending schemes in New York by prosecuting the ACH processors

that serviced the industry.

       14.     But the need to evade the Legacy Liabilities was underscored when the CFPB and

at least a half-dozen states issued “Confidential Information Demands (“CID’s”) to hundreds of

participants nationwide in rent-a-tribe schemes including Plain Green, Great Plains, MobiLoans

and GPLS.      Old Think Finance knew it had to find another source of revenue quickly.

Accordingly, Old Think Finance conceived and launched RISE, a legal, state-licensed lending

business, which used the Old Think Finance’s valuable proprietary technology platforms and

intellectual property, along with the institutional knowledge and experience of its employees.

RISE quickly started generating millions of dollars in revenue.

       15.     Seeing the impending doom of its tribal lending business, Old Think Finance

decided to jettison the toxic Legacy Liabilities in an attempt to make a clean break. Old Think

Finance devised a fraudulent scheme to escape its usurious past and attempt to place its valuable



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state-licensed and legal lending platform and assets beyond the reach of the CFPB, federal and

state regulators, consumer borrowers, tort claimants, and other creditors.

       16.     First, Old Think Finance would isolate the Legacy Liabilities by transferring the

assets, businesses, and operations known as the Elastic, Payday One, Resta, Rise, and Sunny-

branded products loan platforms and related assets (collectively, the “RISE Assets”) out of Old

Think Finance and into a new clean entity. Second, Old Think Finance would completely sever

the tribal lending business and the Legacy Liabilities from Elevate in an attempt to separate the

valuable state-licensed direct lending businesses from the reach of the Legacy Liabilities. Third,

in a final spasm borne of hubris and greed, Old Think Finance would siphon off to its

shareholders, who were now also the owners of Elevate’s stock, the remaining approximate $59

million in cash Elevate had left behind to contribute to the fiction of the tax-free spin-off.

       17.     The process was code named “Project Exclaim.” Old Think Finance formed the

entirely new entity, Elevate, on January 31, 2014 in Delaware. In May 2014, Old Think Finance

transferred to Elevate all of the Rise Assets, software, technology, and other intellectual

property, and other proprietary information and assets used in connection with or related to Old

Think Finance’s direct, non-tribal, lending business and operations (collectively, the

“Transfers”). Elevate also hired several key high-level executives from Old Think Finance.

Rees became the CEO and Chairman of the Board for Elevate, yet he remained Chairman of the

Board for Old Think Finance for a period of time. The companies shared other Board Members

as well. Chris Lutes (“Lutes”), the CFO of Old Think Finance and Elevate, and Sarah Cutrona,

the General Counsel for Old Think Finance and Elevate (“Cutrona”), served in their respective

capacities for both companies for a period of time before moving exclusively to Elevate.




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           18.   Elevate did not assume a single dollar of the Legacy Liabilities from Old Think

Finance’s tribal lending and other businesses. These toxic liabilities remained with Old Think

Finance.

           19.   The transaction closed on or about May 1, 2014.          Through these corporate

machinations, Old Think Finance was stripped of its most valuable assets and its go forward

legal business. All that remained in Old Think Finance was the illegal tribal lending business

that was winding down, and the consumer borrower and regulatory claims that exceeded a billion

dollars.

           20.   Rees and the other officers and directors conspired in an attempt to make the spin-

off appear legitimate and to fend off any subsequent fraudulent transfer claims. CBIZ was

retained by Old Think Finance to provide a “Valuation Analysis” and “Solvency Opinion” for

both Think Finance and Elevate, and KPMG was retained to provide an opinion about the tax

consequences of the spin-off. Old Think Finance was clearly opinion shopping.

           21.   Old Think Finance lied and intentionally concealed the Legacy Liabilities and all

of the contingent liabilities from CBIZ to falsely inflate its valuation, and even went so far as to

instruct CBIZ to include specific conclusions, in a vain attempt to withstand fraudulent transfer

scrutiny. The KPMG opinion, however, relied on the Legacy Liabilities and the contingent

liabilities to satisfy the requirements under the IRS Code for the transaction to be treated as a

tax-free spin-off. The substance of the opinions and conclusions desired by Old Think Finance

dictated entirely the information it provided to both CBIZ and KPMG.

           22.   The incestuous and conflicted nature of officers and directors for the companies in

the spin-off enabled Old Think Finance to unilaterally dictate the terms of the deal, avoid third-

party due diligence, and eliminate standard representations and warranties regarding its massive



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Legacy Liabilities. Again, Elevate paid $0.00 to Old Think Finance in consideration for the

assets received, and the spin-off allowed Old Think Finance to be used as what the executives

internally called a “dividend play”.

       23.     As part of the scheme to divert assets, Old Think Finance also knowingly

distributed approximately $59.0 million to its shareholders over the next 18 months, including

Rees, Lutes, and Cutrona, even though it had never made distributions to shareholders before,

and the regulators and consumer borrowers had filed lawsuits seeking hundreds of millions if not

billions of dollars in damages, fines and penalties. After deliberation, the officers of both

Elevate and Think Finance intentionally concealed the dividend payments from the Attorney

General for the Commonwealth of Pennsylvania because they had requested that Elevate be

dismissed from the lawsuit filed by the Commonwealth, and they did not want to jeopardize the

dismissal.

       24.     The Debtors’ scheme not only segregated billions of dollars of regulatory and

consumer borrower claims from the valuable assets, but it stripped $246.0 million from the

business on a tax free basis on the way out as Elevate and its insiders left Old Think Finance to

collapse.

       25.     The scheme achieved the perpetrators’ goals, as Elevate’s revenues continued to

soar. Less than 3 years after the spin-off, Elevate went public on or about April l6, 2017 and

Rees brazenly rang the opening bell at the New York Stock Exchange. Officers, directors and

shareholders of Old Think Finance received millions in distributions, and shares of Elevate’s

publicly traded stock. The creditors, however, were left holding an empty bag.

       26.     The many consumer borrower investigations led to putative classes in Virginia,

Florida, California, Vermont, and North Carolina filing suit against Old Think Finance, Rees,



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GPLS and other affiliates, co-conspirators, investors and participants in the scheme alleging

violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§

1961-1968 and state law violations. These various claimants alleged that the defendants acted in

concert and conspired with each other to repeatedly violate federal and state lending statutes

resulting in the collection of an unlawful debt from the class members. They also alleged

violations of state usury statutes and sought to void the underlying loans. Because of their roles

in the enterprises, the CFPB and the Attorney General for the Commonwealth of Pennsylvania

brought enforcement actions against Old Think Finance, Rees and most of the other insiders.

       27.     While the spinoff from the Legacy Liabilities allowed Elevate to go public on

April 11, 2017, it left Old Think Finance doomed to fail. Overburdened with Legacy Liabilities

and debt, stripped of its funding source (VPC) and necessary cash, and facing prosecution from

regulators and consumer borrowers, Old Think Finance was destined for bankruptcy.

       28.     Just prior to filing bankruptcy, Old Think Finance, the company that fraudulently

transferred the assets to Elevate, restructured its enterprise one last time, presumably to again try

to fraudulently move other assets out of the companies and away from the reach of creditors.

Management converted Old Think Finance from a corporation to a limited liability company

called “Think Finance, LLC” (along with Old Think Finance, hereinafter referred to as “Think

Finance”), with a newly formed parent holding company owning the membership interests. It

then filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the United

States Bankruptcy Court for the Northern District of Texas (the “Court”) on October 23, 2017

(the “Petition Date”).




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       29.          Think Finance knew that it was doomed to fail the moment Elevate’s spin-off was

finalized as demonstrated by the following:

               i.      Think Finance rushed to complete the spin-off after federal and state
                       regulators issued the CIDs, ordered ACH processors to cease and
                       desist, and prosecuted CashCall, AMG and other tribal lending
                       competitors. The Tribes also lost their challenge to the NYDFS’s
                       Operation Chokepoint in New York state court and on appeal;

              ii.      Afraid of being prosecuted for its role, VPC, through GPLS, stopped
                       purchasing new tribal loans and funding the scheme. Drawing upon
                       this contact, Think Finance asked VPC, its sole funding source, to
                       instead fund a credit facility for Elevate and the RISE Assets;

             iii.      Think Finance lied and concealed the Legacy Liabilities from CBIZ
                       after it hired CBIZ to perform a valuation and solvency analysis for
                       Think Finance and Elevate. It also (i) obtained exact language from its
                       shareholders’ counsel to insert into the analysis; and (ii) prepared
                       talking points to answer questions from consumers and the press which
                       concealed the regulatory impact on the enterprise;

             iv.       While Think Finance was concealing the Legacy Liabilities from
                       CBIZ and the public, it disclosed the regulatory upheaval and need to
                       exit the tribal lending industry in its Board Minutes and Memos, and to
                       KPMG in order to obtain a positive tax opinion for the spin-off. But it
                       failed to tell KPMG that Rees would continue as Chairman of the
                       Board for both companies, or that Think Finance would turn into a
                       dividend play and distribute the remaining cash rather than use it to
                       continue in business, as required under the IRS Code;

              v.       Elevate received at least $246.0 million of assets (although CBIZ
                       failed to include the IP in the valuation) stripping the most valuable
                       assets from the companies, leaving only approximately $59.0 million
                       in cash which could never service the billions of dollars of Legacy
                       Liabilities;

             vi.       Knowing that Think Finance could not survive in a dying illegal
                       industry, the CEO, CFO, General Counsel, and most of the top
                       executives left and went to work for Elevate. Their replacements were
                       left solely to delay the wind down long enough to try to satisfy the
                       “continuity of business” requirement under the IRS Code for a spin-off
                       to remain tax free and protect the shareholders from taxes; and

             vii.      Think Finance even agreed to unusual indemnification agreements
                       with certain directors and shareholders purporting to shield them from
                       liability for their role in the spin-off, and then, months later, backdated


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                   indemnification agreements for officers including Lutes and Wong to
                   the date of the spin-off to prepare for the expected litigation.

          30.   Think Finance was left with placeholder officers and directors, mountains of debt,

insufficient cash, no funding, no legal business model, and CID’s and massive lawsuits to

defend.

                                 JURISDICTION AND VENUE

          31.   This adversary proceeding arises out of and is related to the above-captioned

Bankruptcy Case before the Court. The Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334.

          32.   This adversary proceeding is brought pursuant to Rule 7001, et seq. of the

Bankruptcy Rules and §§ 544 and 550 of the Bankruptcy Code. The Trustee consents to the

entry of final orders or judgments by the Court if it is determined that the Court, absent consent

of the parties, cannot enter final orders or judgments consistent with Article III of the United

States Constitution.

          33.   Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409 as this

adversary proceeding arises under and in connection with a case under the Bankruptcy Code

which is pending in this District.

          34.   This is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(A), (B), (F), (H)

and (O)

          35.   The Trustee has standing to pursue this Complaint.

                       RESERVATION AND RIGHT OF AMENDMENT

          36.   During the course of this adversary proceeding, the Trustee may learn (through

discovery or otherwise) of additional transfers of an interest of the Debtors in property to Elevate

that may be recoverable under the Fraudulent Transfer Laws. It is the Trustee’s intention to


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avoid and recover all such transfers made by the Debtors or utilizing the property in which the

Debtors had an interest from any immediate or intermediate transferee of Elevate to the fullest

extent permitted by the Bankruptcy Code. The Trustee reserves the right to amend this Amended

Complaint to include: (i) further information regarding the Transfers identified herein; (ii)

additional transfers; (iii) modifications of and/or revisions to the Defendant’s name; and (iv)

additional defendants and/or additional causes of action (collectively, “Amendments”), that may

become known to the Trustee, at any time during this adversary proceeding, through formal

discovery or otherwise, and for such Amendments to relate back to the filing of the original

Complaint.

                                                  PARTIES

        37.      Pursuant to § 5.3 of the confirmed Plan, the Trust was established on the effective

date of the Plan; the causes of action asserted herein, which previously were causes of action

held by the Debtors’ bankruptcy estates, were transferred and assigned to the Trust.                        The

Honorable Russell F. Nelms (Ret.) was appointed to serve as the Litigation Trustee for the Trust.

Under the confirmed Plan, the Trustee has standing to prosecute the claims asserted in this

Complaint on behalf of the Trust and has all the “strong arm” powers of a trustee under § 544 of

the Bankruptcy Code.

        38.      Pre-confirmation, on or about October 15, 2019, Elevate and the Official

Committee of Unsecured Creditors (the “Committee”) entered into an initial tolling agreement,4

tolling the deadline for claims against Elevate to be asserted, from October 22, 2019 through and

including January 15, 2020 (as amended, the “Deadline”). On January 10, 2020, the Trustee and

         4
           Stipulation and Order by and between the Official Committee of Unsecured Creditors and Elevate Credit,
Inc. Tolling All Applicable Statutes of Limitations with respect to Causes of Action including Avoidance Actions
[Docket No. 1559] (hereinafter, referred to as the “First Tolling Agreement”, with each successive such agreement
referred to as the “Second Tolling Agreement”, the “Third Tolling Agreement”, the “Fourth Tolling
Agreement”, and the “Fifth Tolling Agreement”).

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Elevate submitted the Second Tolling Agreement to further extend the Deadline through and

including March 20, 2020, which the Court entered on January 14, 2020 [Docket No. 1700]. On

March 18, 2020, the same parties submitted the Third Tolling Agreement to further extend the

Deadline through and including May 29, 2020, which the Court entered on March 18, 2020

{Docket No. 1742]. On May 26, 2020, the Trustee and Elevate submitted the Fourth Tolling

Agreement to further extend the Deadline through and including June 30, 2020, which the Court

entered on May 28, 2020 [Docket No. 1757]. On June 24, 2020, the same parties submitted the

Fifth Tolling Agreement to further extend the Deadline through and including August 14, 2020,

which the Court entered on May 28, 2020 [Docket No. 1757]. In accordance with the terms of

the Fifth Tolling Agreement, the Trustee filed the Complaint initiating this adversary proceeding

before the expiration of the Deadline. The Complaint therefore was timely filed.

       39.     Old Think Finance is a Delaware corporation with a principal place of business at

5080 Spectrum Drive, Suite 700 West Addison, TX 75001. Rees and others created Old Think

Finance to locate, arrange and funnel lending capital to the Tribes used to make the usurious

loans to consumers. Although the Tribes held themselves out as the actual lender of these

internet loans, Old Think Finance was the actual entity that procured the investment capital for

the Tribes. Additionally, Old Think Finance initially performed the application processing,

underwriting, and customer service support for the loans, but some of these tasks were later

delegated to the other companies identified herein. Old Think Finance is the lead debtor in the

bankruptcy cases.    Under Section 3.6 of the Plan, the Nationwide Consumer Borrower

Settlement Class received an allowed $1.13 billion claim against Old Think Finance and its co-

debtors for voting and distribution purposes. Old Think Finance, shortly before filing for

bankruptcy relief, restructured itself to become a limited liability company under Delaware law.



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       40.    Debtor Think Finance SPV is a limited liability company formed under the laws

of Delaware with a principal place of business at 5080 Spectrum Drive, Suite 700 West Addison,

TX 75001-3232. According for the Application for Registration submitted to Secretary of State

of Texas, Think Finance SPV’s stated business purpose is “managing, marketing, making, and

servicing consumer credit products.” This document was signed by Rees as President.

       41.    Debtor Tailwind Marketing is a limited liability company with a principal place of

business at 5080 Spectrum Drive, Suite 700 West Addison, TX 75001-3232.                 Tailwind

participated in the enterprise as the marketing and technology arm to disguise the involvement of

Rees and Think Finance. According to the Application for Registration submitted to the

Secretary of State of Texas in 2008, Tailwind Marketing’s stated business purpose was to

“provide marketing and consumer financial services.” This Application for Registration was

signed by Rees as “the President of TC Loan Service, LLC,” the Sole Member of Tailwind

Marketing.

       42.    Debtor TC Loan Services, LLC is a limited liability company with a principal

place of business at 5080 Spectrum Drive, Suite 700 West Addison, TX 75001-3232. TC Loan

Services participated in the enterprise as the controlling member of Tailwind Marketing. TC

Loan Services was created to further insulate Defendants from liability by adding an extra layer

of corporate protection to the misconduct of Tailwind Marketing.

       43.    Debtor TC Decision Sciences, LLC (“TC Decision Sciences”), is a Delaware

corporation with a principal place of business at 5080 Spectrum Drive, Suite 700 West Addison,

TX 75001-3232. TC Decision Sciences participated in the enterprise as the website operator and

software administrator for Plain Green and Great Plains




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        44.       Defendant Elevate is a financial technology (or “FinTech”) company founded on

January 31, 2014, that has employed over 500 people. It provides non-prime loans to cash-

strapped consumer borrowers through the internet. It has originated $5.9 billion in non-prime

credit to more than 2 million consumers to date. It is based out of 4150 International Plaza #300,

Fort Worth, TX 76109 and is publicly traded on the NYSE as “ELVT”.

                                       FACTUAL BACKGROUND

        I.        Think Finance Creates Massive Legacy Liabilities through its Fraudulent
                  and Illegal Rent-a-Tribe Scheme.

        45.       For more than eight years, Think Finance operated a usurious lending scheme

which sought to evade the usury laws of states nationwide by using Native American Indian

Tribes as the conduits for their loans. Although regulatory enforcement efforts and private

lawsuits uncovered the misconduct as early as 2012, Think Finance continued to engage in the

scheme even though “[n]o one appear[ed] to seriously dispute” that these rent-a-tribe “loans

violated a host of state and federal lending laws.” 5

        46.       Rees, the former Chairman of the Board and CEO of Think Finance, is one of the

architects of the rent-a-tribe lending model—one of the few yet to be imprisoned for his role in

this industry.6

        47.       Prior to the rent-a-tribe model, some payday lenders entered into partnerships

with national banks to avoid compliance with state laws—a tactic known as “rent-a-bank.” 7

        5
         Hayes v. Delbert Servs. Corp., 811 F.3d 666, 669 (4th Cir. 2016); see also Gingras v. Think Fin., Inc.,
922 F.3d 112, 128 (2d Cir. 2019) (describing Plain Green as “payday lending entity cleverly designed to enable
Defendants, including TCV, to skirt federal and state consumer protection laws under the cloak of tribal sovereign
immunity.”).
         6
           See United States v. Neff, No. 18-2282, 2019 WL 4235218, at *1 (3d Cir. Sept. 6, 2019) (affirming the
convictions of Hallinan and Neff, whose “RICO convictions [were] based on their efforts to skirt state usury laws by
partnering with American Indian tribes to offer usurious payday loans.”); The United States Attorney’s Office,
Southern District of New York, Scott Tucker Sentenced To More Than 16 Years In Prison For Running $3.5 Billion
Unlawful Internet Payday Lending Enterprise (Jan. 8, 2018).



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        48.     Think Finance initially used a rent-a-bank lending model.                     Under this

arrangement, loans were originated in the name of First Bank of Delaware, but it served as

nothing more than a nominal lender on behalf of ThinkCash. In return for the use of its name,

First Bank of Delaware received 10% of the revenue from the loans.

        49.     The FDIC took steps to shut down Think Finance’s arrangement with First Bank

of Delaware through a cease and desist order requiring it to terminate its relationship with “all

third-party lending programs.” In response to the crackdown on rent-a-bank arrangements,

several payday lenders reincarnated the lending model through associations with Native

American Indian Tribes in an attempt to evade state laws and create a new tribal lending

industry. Like the rent-a-bank format, the loans would be originated in the name of a tribe, but

the tribe would serve as nothing more than a nominal lender.

        50.     After receiving notice of intent to terminate the rent-a-bank relationship, Think

Finance “assembled the executive team together that weekend to look at a wide variety of things

to do.” According to Rees, Think Finance evaluated “opportunities in the UK,” as well as

“tribal” lending, which was “something [Think Finance] hadn’t really evaluated in the past.”

        51.     As part of this evaluation, Think Finance researched “other tribal lending

businesses.” According to Rees, Think Finance “had a business model” that “worked well” with

First Bank of Delaware, and it wanted its tribal lending arrangement “to replicate that as much as

possible.” Representatives for Think Finance, including Rees and Cutrona, even met with Butch

Webb of CashCall (a competitor in the tribal lending industry) in or around November 2010 to

learn about the rent-a-tribe model.



        7
          See, e.g., Jean Ann Fox & Edmund Mierzwinkski, Consumer Fed’n of Am. & U.S. Pub. Interest Research
Grp., Rent-a-Bank Payday Lending: How Banks Help Payday Lenders Evade State Consumer Protection at 17-22
(2001), available at http:// www.consumerfed.org/pdfs/paydayreport.pdf.

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         52.   Rees and Think Finance began vetting potential tribal partners and identified the

Otoe-Missouria Tribe as a potential candidate. As part of this process, Think Finance created a

PowerPoint entitled “Emergency Cash Lending—A New Source of Tribal Revenue.”                   The

PowerPoint claimed that “[o]nline emergency cash lending” represented “a significant

opportunity for increased tribal revenue” and that Think Finance had “a unique turnkey solution

for helping tribes enter this lucrative market.” The “[t]urn-key solution include[d] technology,

marketing, risk management, compliance support, and access to capital funding,” which could be

“[u]p and running 90 days from signed contracts.”

         53.   Think Finance’s presentation further explained that “[u]sing Think Finance

technology and services,” would allow tribes to “generate millions of dollars in cash flow with

no investment in technology, lending capital, or marketing costs, and with no risk of loss.” The

primary sources of this revenue were “[e]mergency cash users—mainstream Americans,” who

were “65% female,” with household income of “$25K-50K” who primarily needed the

emergency loans for unexpected bills, medical costs, car repairs, or to avoid overdrafts. Think

Finance helped the tribe form Great Plains to participate in the scheme. The scheme was so

unconscionable and predatory that the respective tribes barred their members from obtaining the

loans.

         54.   Think Finance also worked with the Chippewa Cree tribe to form Plain Green.

         55.   Consistent with the business model, Think Finance created, developed,

implemented and controlled the lending businesses it established under the front of tribal lenders.

By way of example, Billi Anne Raining Bird, the former CEO of Plain Green, testified in a legal

proceeding under oath that: (i) she agreed with the Claimants’ characterization that Plain Green

was a “rent-a-tribe,” (ii) Plain Green had no meaningful role in the lending program other than



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pro forma review of recommendations from Think Finance, (iii) Think Finance handled every

material aspect of the lending program, including marketing, underwriting, origination,

servicing, funding, and collection of the loans, and (iv) Think Finance intentionally tried to

conceal information from Plain Green so that it was dependent on Think Finance, which could

then continue to demand the vast majority of the profits from the lending business.

        56.    Needing a source of funds, Think Finance agreed to collaborate with VPC to

“create a new structure to avoid banking regulatory issues and leverage the company’s existing

sourcing, underwriting and servicing platforms” in a structure that “is substantially similar to the

business model used by CashCall for over 9 months.”

        57.    Think Finance, GPLS, and the Tribes entered into a series of contracts that

provided Think Finance with control of the operations and entitled it to retain the overwhelming

majority of the profits, including: (i) the Participation Agreement between GPLS and Great

Plains dated May 25, 2011; (ii) the Administrative Agency Agreement between GPLS and TC

Administrative dated February 28, 2011; (iii) the Servicing Agreement between Great Plains and

TC Decision Sciences dated May 25, 2011; (iv) the License and Support Agreement between

Great Plains and TC Decision Sciences dated May 25, 2011; and (v) the Marketing Agreement

between Great Plains and Tailwind Marketing dated May 25, 2011.

        58.    The enterprise generated billions of dollars of revenue. Rees, Lutes, Cutrona, and

other officers received millions of dollars in pay and distributions. While the enterprise

experienced “tsunami-like growth” with run rates in excess of $500 million, the scheme was

short lived.




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       II.     Think Finance Realizes the Regulators Have Uncovered the Scheme.

       59.     The CFPB began its prosecution by issuing CIDs to the tribal entities and others.

As early as April 19, 2012, two years before the spin-off, Rees had informational meetings with

the CFPB about its investigation into the tribal lending industry. Think Finance’s Board Memos

memorialize numerous discussions about the CFPB’s actions. Claudia Callaway, Esquire, of

Katten Muchin Rosenman LLP (“Callaway”), Think Finance’s outside counsel who also served

as counsel for CashCall, emailed Cutrona on April 10, 2012 stating “Note the RICO class action

against Scott Tucker” and providing a copy of the complaint.

       60.     Although August, 2012 “resulted in the best financial performance in the

company’s history,” the federal and state regulators were closing in. CIDs were also issued by

agencies in New York, Arkansas, Minnesota and Massachusetts, and in October, 2012 the Tribes

began to beg Think Finance for help in addressing the numerous allegations of the various

agencies.

       61.     By November 2012, the company’s Board Memos reflect thorough and panicked

discussions about the regulatory issues engulfing the tribal lending industry, and the prosecution

of the “Western Sky” / CashCall rent-a-tribe scheme by the FTC and CFPB for RICO violations.

       62.     With projections in December, 2012 showing “$850MM+” in revenue, Think

Finance began taking evasive actions in the face of the regulatory threats. Think Finance hired

lobbyists to advocate for its cratering industry and traveled to far-away places including Abu

Dhabi to try to find new investors to replace VPC which had become skittish and stopped

funding the operation.

       63.     On or about December 20, 2012, Think Finance produced an internal PowerPoint

presentation to try to circumvent prosecution entitled “Strengthening the Tribal Model” which



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included emergency action points on what processes they should change: (i) to avoid the “True

Lender” and “Aiding and Abetting” arguments of the various Attorney Generals for the illegal

scheme; and (ii) to stop the automatic end of day funding and strengthen tribal involvement.

       64.     On or about February 7, 2013, Think Finance personnel admitted through internal

emails that they were “concerned about the large number of issues” they had come across with

respect to their “support of the tribal lenders” and employees were to be instructed to always

state that the Tribes were the actual lenders.

       65.     From March 27, 2013 to April 18, 2013, Think Finance assembled a “No Lend”

list which included fourteen (14) states that were actively seeking to prosecute those involved in

rent-a-tribe schemes, so it could cease lending in those states by the end of April. Think Finance

elected to quickly exit 20-25% of its U.S. coverage. But it continued the predatory lending

business in states it perceived as less inclined to criminal prosecution.

       66.     On or about March 28, 2013, one of its tribal lending partners, Great Plains

Lending, LLC, was named as a defendant in a class action in North Carolina, but it was

dismissed as the plaintiffs mistakenly believed it was an affiliate of the CashCall/Western Sky

scheme instead of the Think Finance scheme. Think Finance knew that it could not rely upon

this type of mistake for long.

       67.     To defend the deluge of regulatory issues and investigations, Think Finance hired

Martin Wong as Chief Integrity Officer in April 2013.

       68.     On or about April 30, 2013, a CID was served on GPLS by the CFPB. The CID

expressly states:

       Purpose is to determine whether small-dollar online lenders or other unnamed
       persons have engaged or are engaging in unlawful acts or practices relating to the
       advertising, marketing, provision or collection of small dollar loan products in
       violation of Section 1-036 of the Dodd-Frank Wall Street Reform And Consumer


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       Protection Act, 12 U.S.C. § 5536 the Truth in lending Act, 15 U.S.C. §§ 6802-
       6809, or any other consumer financial law. The purpose of this investigation is
       also to determine whether Bureau action to obtain legal or equitable relief would
       be in the public interest.

       69.     In response, the companies’ Executive Meeting Deck for May 2, 2013 indicates

that Think Finance was going to “restructure tribal” to “minimize legal risk,” and launch RISE in

an attempt to offset losses.

       70.     The June 18, 2013 Board Memo demonstrates that Think Finance knew its

business was doomed to fail, stating “if banks won’t process the ACH payments, there is no

business.”    Indeed, the NYDFS was investigating illegal online lending and had begun

“Operation Chokepoint,” and its ACH providers were also being ordered to cease and desist their

related activities by federal regulators. As stated in a July 30, 2013 email from Lutes to Cutrona,

“North American Bank, said the FDIC told them ‘no’ on tribal and the FDIC said the pressure

was coming from the DOJ, FTC and CFPB.” The bank gave Think Finance until August 31,

2013 to transfer the business elsewhere. In addition, the “FDIC said they would make their life

hell if they didn’t stop processing ACHs for the tribes.”

       71.     Despite the knowledge that the companies were engaging in illegal and improper

activities and being instructed to cease and desist, and in a desperate attempt to avoid liability,

Wong began taking an active role with the Otoe-Missouria tribe in its litigation in New York

with the NYDFS as early as August 9, 2013, even though Think Finance was not a party. Wong

helped select the tribe’s counsel, was included in strategy sessions and decision making about the

case, received confidential strategy materials and “White Papers” about sovereign immunity for

tribes, provided comments on briefs, and attended oral arguments in Court.

       72.     On August 9, 2013, Great Plains expressed its disappointment to Think Finance

about the launch of the RISE product. Rees lied to the tribe and later bragged to Lutes and other


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executives at Think Finance in an email stating that he told Great Plains that “the ACH issue

didn’t impact our marketing plans for Rise (which is at least somewhat true).”             (Emphasis

added).

          73.    On August 12, 2013, VPC sent a frightened email to Think Finance to show them

that the public was now aware of the rent-a-tribe scheme. The email contained an article from

USA Today about the New York litigation with the tribes and the prosecution of the Western Sky

/ CashCall scheme.

          III.   Think Finance Decides to Focus on Growing RISE Due to the Regulatory
                 Issues with Tribal Lending.

          74.    The August 14, 2013 Board Memo demonstrates that Think Finance shifted its

focus to the RISE (legal, state licensed lending) product while looking for an emergency exit

from the tribal business. Rees acknowledged that the efforts of federal and state regulators,

including the FDIC, DOJ and NYDFS, to stop ACH processing created an unwinnable battle for

the enterprise. Consequently, Rees and his cohorts increased their focus on RISE and suspended

their marketing campaigns for tribal lending.

          75.    On August 16, 2013, an email was circulated to officers and directors at Think

Finance which stated:

          “…. we can presume the NYDFS, DOJ, FDIC, FTC, CFPB, FinCen and perhaps
          other agencies are holding regularly scheduled conference calls and in-person
          sessions . . . to coordinate and revise their strategies to take this industry down.”

          76.    By email dated August 21, 2013, VPC advised Lutes and Think Finance that it

would cease funding GPLS and stop purchasing tribal loans by the end of the week. It also

advised Think Finance by email dated September 5, 2013 that it decided to stop purchasing loans

due to the NYDFS cease and desist order.




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        77.     The September 18, 2013 Board Memo advised the Board of Rees’ acceptance of

the end where he states: “Unfortunately, I don’t think that we can hide in the shadows any

longer.” He also thanked Wong for leading the litigation effort.

        78.     On October 2, 2013, Think Finance and VPC exchanged emails which attached

articles from the Wall Street Journal, New York Times, Bloomberg, CNBC, Marketwatch,

Washington Post, AP, Reuters, Consumer Affairs, ABC and others about the NYDFS victory

over the tribes in the New York Litigation. This growing public storm was the proverbial nail in

the coffin.

        79.     Wells Fargo, the main corporate bank of Think Finance informed it that Wells

Fargo could no longer provide basic services in any capacity. All of the big four accounting

firms also declined Think Finance as an audit client because of the litigation.

        80.     The October 16, 2013 Board Memo notes that Think Finance will actually lose

money in September, banks are skittish, and “the key for us, however, is to not negatively impact

efforts that are critical to scale RISE . . .”

        81.     By October 29, 2013, Rees and the executives of Think Finance sought and

obtained a term sheet from VPC for a new loan facility for RISE in the amount of $250 million.

By doing so, Think Finance switched its sole funding source for its tribal lending over to RISE,

knowing they were leaving Think Finance to die on the vine.

        82.     The November 13, 2013 Board Memo indicates that the tribal lending business

continued to decline and had negative net income, while RISE was showing “amazing growth”

and would hit over $50 million.




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       83.     Internal emails at Think Finance between November 18, 2013 and December 10,

2013 describe Think Finance’s “transition out of tribal” and the “de-emphasizing of tribal given

all the regulatory uncertainties.”

       IV.      Think Finance Decides to Evade its Legacy Liabilities.

       84.     With the remarkable growth of RISE, Think Finance decided it needed a clean

break from its illegal tribal lending past to isolate and capture the growing windfall of profits

RISE offered. The December 11, 2013 Board Memo even states “It sure looks like we have a

sure winner in Rise.” It further states:

       As mentioned during the previous Board meeting, we are evaluating a rather
       draconian organizational change that we are referring to as ‘Project Exclaim.’
       This would spin off several products (Rise, Sunny, Elastic) to separate the tribal
       and non-tribal businesses . . .

Think Finance unequivocally decided to free its RISE business from the Legacy Liabilities.

       85.     Michael Goguen, who sat on Think Finance’s Board for Sequoia Capital, the

second largest shareholder, summarized the strategy described to him by Think Finance in a

“GetRealNews” communication to Sequoia personnel:

       On Friday, the [Think Finance] Board gave the go-ahead on ‘Project Exclaim,’
       which will split the company into two pieces: Think Finance will continue to be
       the name for the company containing all of the (extremely profitable but) tainted
       assets, including all tribal lending products. These products will continue to
       generate significant cash, but no effort will be put into growth. The good stuff will
       be in the newco with a new name (currently Exclaim), and will contain only
       lending products with no grey area, eg Rise (which conforms strictly to state by
       state enabling legislation). While the investor ownership will be mirrored in each
       cap table, obviously our active participation and return prospects will be
       associated only with the new ‘good’ half.

       86.     By email dated December 18, 2013, Rees advised the Board of the CFPB’s action

against CashCall/Western Sky for illegal online lending and states “it is a strong argument for

proceeding down the path we are heading with [Project] Exclaim.”



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       87.     On December 23, 2013, Rob Rosette, Esquire of Rosette LLP emailed Wong a

detailed strategy which included analyses of the CashCall case, CFPB CID’s, New York

litigation, and Class Action Cases.

       88.     Think Finance knew that the Legacy Liabilities, including the claims asserted by

regulators and in impending class actions for the contingent liabilities arising from the scheme,

would prevent the company from ever realizing Rees’ dream of going public. The January 16,

2014 Board Memo states that “[w]e believe the non-tribal businesses can deliver over $500MM

in revenue in 2015 and $75MM in EBITDA positioning us to potentially take that business

public in 2015.”

       89.     To make that dream come true, Think Finance had to cannibalize its businesses.

It asked VPC to redirect its funding from purchasing loans through GPLS over to a credit facility

for RISE.

       V.      Think Finance Devises a Scheme to Avoid Responsibility for the Legacy
               Liabilities.

       90.     On February 2, 2014, Lutes emailed the public relations department to tell them

“how to position the spin off with the CFPB” so as to “not appear that Think Finance is being

financially diluted.”

       91.     On February 7, 2014, Massachusetts sent a CID to VPC which states, “[t]his

investigation relates to allegations that Victory Park Capital Advisors, LLC has engaged in unfair

and deceptive practices involving payday loans in violation of M.G.L. c. 93A, §2(a) and M.G.L.

c. 140 § 96.” On or about February 21, 2014, the Bank of Montreal terminated its ACH services

for Think Finance. These actions served as a pointed reminder that the company could never

continue or go public saddled with the Legacy Liabilities. Accordingly, Think Finance put into




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motion its plan to jettison the Legacy Liabilities and shield its valuable RISE Assets from the

regulators and defrauded consumer borrowers.

        92.    First, Think Finance isolated its Legacy Liabilities to achieve a clean break by

creating a new entity, Elevate, that would be a legal, state licensed lending business. Second, it

severed the RISE business through a purported tax-free spin-off. Third, Think Finance was used

as a dividend play to distribute all remaining cash to its shareholders, the bulk of which went to

insiders.

        93.    Anticipating subsequent scrutiny by the regulators, and potential challenges to the

actions of the officers and directors in undertaking the spin-off, Think Finance retained CBIZ to

provide a “Valuation Analysis” for both Think Finance and Elevate and a “Solvency Opinion”

for the Think Finance Board. The analyses, however, were little more than window dressing.

Think Finance knew the tribal lending business would be far too small after the spin-off to

service the Legacy Liabilities, so it lied and concealed the magnitude of the Legacy Liabilities

from CBIZ entirely.

        94.    Although CBIZ was ostensibly retained to provide an objective valuation, Think

Finance controlled the valuation process with an iron fist. It provided the base case and tribal

wind down models and select financial information to CBIZ, while precluding CBIZ from

performing any investigation, audit or independent corroboration of the information.

        95.    The complete lack of objectivity in the Valuation Analysis is shown through an

email dated February 18, 2014, long before their work was completed, where CBIZ asks Think

Finance to “check with counsel on the exact language they would like to see in the opinions and

also the solvency tests they would like to see conducted.”




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       96.     On February 19, 2014, Think Finance’s Corporate Secretary, Paul Tauber,

emailed Lutes the exact language certain insiders had drafted for inclusion in the CBIZ analysis:

       “TF: Pre-Transaction:
   1. TF is able to pay its debts and other obligations in a timely manner as they
      become due;
   2. The capital of TF is a reasonable amount for the business in which it is engaged;
      and
   3. The fair market value and present saleable value of TF’s aggregate assets exceed
      TF’s aggregate stated and contingent liabilities.
       TF and Elevate: Post-Transaction (separate opinions)
   1. TF/Elevate is able to pay its debts and other obligations in a timely manner as
      they become due;
   2. The capital of TF/Elevate is a reasonable amount for the business in which it is
      engaged; and
   3. The fair market value and present saleable value of TF/Elevate’s aggregate assets
      exceed TF/Elevate’s aggregate stated and contingent liabilities.”
Lutes then forwarded this prescribed language to CBIZ by email.

       97.     The Corporate Secretary even discussed the required content for these solvency

opinions with counsel for one of Think Finance’s largest shareholders, Technology Crossover

Ventures (“TCV”). Lutes then emailed CBIZ on February 25, 2020, prior to CBIZ rendering

even a draft opinion, demanding “there should be an opinion that Think as a solvent entity on the

day of spinoff is distributing Elevate and Think is solvent post-spinoff.”

       98.     After cherry picking the financial information, concealing the contingent

liabilities, and demanding a conclusion that both entities were at all relevant times solvent, Think

Finance and Elevate, on or about February 25, 2020, then demanded that CBIZ amend the

engagement letter to ensure the true nature of the Legacy Liabilities remained hidden, by

including the following new language:




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        For the purposes of the Opinions: . . .

        “identified contingent liabilities” shall mean the amount of contingent liabilities
        on a consolidated basis identified to us in writing and valued by responsible
        officers of such Entity, upon which CBIZ will rely without independent
        verification; no other contingent liabilities will be considered;

It also required CBIZ to remove the following from the engagement letter:

        CBIZ reserves the right but has no obligation to make adjustments to the analyses,
        opinions and conclusions set forth in the Opinions as CBIZ deems necessary by
        consideration of additional or more reliable data that may be available.

Think Finance further demanded the insertion of a confidentiality provision.

        99.     Lutes also routinely forced CBIZ to edit any drafts that were inconsistent with the

desired outcome. Presumably frustrated with the lack of transparency, CBIZ advised Think

Finance on March 4, 2014 that it would not provide a “Will Opinion”, it would not indemnify

any party, and the opinion should not be relied on by anyone other than the officers and

directors.

        100.    CBIZ’s analysis concluded:

                       Think Finance Base Case
                    2014 Revenue $194,461,862, then drops to $99,289,149 by 2018.
                    2014 EBITDA $75,784,544, then drops to $27,234,169 by 2018.
                    2014 Net Income $34,075,882, then drops to $3,650,261 by 2018.
                       Elevate Base Case
                    2014 Revenue $269,393,526 then increases to $1,050,860,371 by 2018.
                    2014 EBITDA ($29,974,044), then increases to $199,792,780 by 2018.
                    2014 Net Income ($30,424,053), then increases to $96,223,488 by 2018.
                       Fair Value Split: 30.847 % TF ($109,770,000) and 69.153% Elevate
                       ($246,000,000).

        101.    CBIZ’s inherently flawed conclusion that Think Finance would be solvent after

the spin-off, however, was due to the fact that $0.00 was being allocated to the Legacy

Liabilities.   The “Operational Assumptions” section indicates that CBIZ assumed that the

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company had no undisclosed real or contingent liabilities outside of the ordinary course that

would impact the analysis. The assumption was based on the false and clearly unreliable

information knowingly provided to CBIZ by Think Finance. The opinion also failed to include

or reflect the value of the intellectual property usurped by Elevate.

       102.    Notably, on April 30, 2014, Lutes, Think Finance’s CFO, signed and provided a

Representation Letter to CBIZ which falsely warrants and represents that:

       information was provided to CBIZ . . . is true and correct . . . no change . . . in the
       . . . liabilities (contingent or otherwise) . . .

       The Company has no material . . . contingent liabilities that will affect CBIZ’s
       analysis or the Opinion, including those arising from litigation, claims or
       assessments, other than those set forth on the Annex attached hereto [None]

       I have consulted with the general counsel and certain other officers of the
       Company as well as outside counsel . . . who have responsibility for legal . . .
       concerning pending and threatened litigation, and other contingent liabilities of
       the Company, or facts known to them which could give rise to litigation . . and
       have included on the Annex hereto (a) each and every such contingent liability,
       (b) our best judgment as to the maximum realistic exposure of each such
       contingent liability . . .

       103.    The company intentionally lied and misled CBIZ to ensure the opinion would be

favorable. Exposing the true intent, an internal email dated March 13, 2014 from Lutes to Badr

Qureshi, the Vice President and Treasurer, admits:

       Rise is now our largest product and we expect to generate almost $300mm in revs
       this year off of non-tribal. The tribal litigation would hold up our ability to go
       public. Spinoff enables the new entity to go public and allows Think (tribal
       business) to turn into a dividend play.

Subsequent emails from Lutes to VPC dated March 18, 2014 disclose that Think Finance did not

want it to be “saddled with too much excess cash” after the spin-off and the cash could be

distributed as dividends.

       104.    To cover up the true purpose of the spin-off, Think Finance even retained a public

relations company to assist in the creation of a “Q&A” script to keep regulators, consumers, and

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the press at bay. The Q&A falsely stated that: (i) the split would enhance the value of both

companies; (ii) the CFPB and regulatory overhang were not factors which precipitated the spin-

off; and (iii) Think Finance retains a very profitable business and has every reason to believe its

growth will continue.

       105.    Think Finance also retained KPMG to provide an opinion as to whether the

transaction qualifies as a tax-free spin-off so its shareholders could avoid paying taxes. The

company needed KPMG’s opinion to substantiate a tax-free spinoff, but the analysis and

conclusion flies in the face of the CBIZ opinion. To qualify for tax-free treatment, Think

Finance disclosed the Legacy Liabilities to KPMG because “exigent circumstances” and a

“legitimate business purpose” are required for a spin-off to get tax-free treatment under §§ 355

and 368 of the IRS Code:

          As opposed to the CBIZ opinion which states that no contingent liabilities
           exist, the KPMG opinion thoroughly discusses the exigent contingent claims
           from the actions of the regulators. It states: “The Spin-Off is motivated, in
           whole or substantial part, by a corporate business purpose to eliminate the
           detrimental impacts on the Branded Products Business [RISE etc.] caused by
           the regulatory and litigation uncertainty emanating from the controversy
           between the Product Platform Business [Tribal] and certain federal and state
           litigators and regulators.”;
          The KPMG opinion includes an analysis of the various actions brought by the
           FDIC and OCC, Operation Chokepoint, the loss of ACH in the tribal lending
           industry, and the CFPB investigation;
          The opinion also states that the business purpose of the transaction was a
           move to “insulate the Branded Products business from the regulatory
           overhang”; and
          But even here complete candor to KPMG was not feasible such that Think
           Finance’s lies to KPMG are reflected in certain erroneous statements to the
           effect that: (i) officers and directors are to remain at Think Finance (which
           they did not); and (ii) there are no substantial interruptions in Think Finance’s
           business (ignoring the critical loss of VPC funding).




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       106.    In perhaps the biggest lie told during the scheme, on April 30, 2014, Lutes, in his

capacity as CFO of Think Finance, sent CBIZ a confidential letter which stated:

       . . . each of the following is true and correct:

       . . . there has been no change or new facts, financial or otherwise, in the business,
       assets, liabilities (contingent or otherwise), financial condition . . . which could
       reasonably be expected to have a material adverse effect on the Opinion to be
       rendered by CBIZ . . .

       The Company has no material commitments or contingent liabilities that will
       affect CBIZ’s analysis or the Opinion, including those arising from litigation,
       claims, or assessments, other than those set forth on the Annex attached hereto. . .

       I have consulted with the general counsel and certain officers of the Company as
       well as outside counsel, advisors, and consultants to the Company who have
       responsibility for legal, financial and accounting matters concerning pending and
       threatened litigation, and other contingent liabilities of the Company . . . or facts
       known to them which could give rise to litigation, asserted claims . . . and other
       contingent liabilities, and have included on the Annex attached hereto: (a) each
       and every such contingent liability, (b) our best judgment as to the maximum
       exposure of each contingent liability . . .

The “Annex” also showed: “Identified Contingent Liabilities None”.

       107.    Lutes as CFO, Cutrona as General Counsel, Rees as CEO and Chairman of the

Board, were collectively well aware of the illegal nature of the rent-a-tribe scheme, and the

investigations, contingent claims, and litigation threatened by the CFPB, NYDFS, state attorneys

general and consumer borrowers. They were also acutely aware of how similar investigations

and prosecutions had developed with similar entities like AMG. Accordingly, this representation

letter was a bald-faced lie intended to conceal the ensuing fraudulent transfer of assets to Elevate.

Indeed, Rees also signed a May 1, 2014 Representation Letter for KPMG that stated:

       . . . the Spin-Off is motivated, in whole or substantial part, . . . to eliminate the
       detrimental impacts on the Branded Products Business caused by the regulatory
       and litigation uncertainty emanating from the controversy between the Product
       Platform Business and certain federal and state litigators and regulators . . .




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       108.    In attempt to insulate themselves from liability for the fraudulent transfer, certain

officers and directors brazenly executed Indemnification Agreements dated May 1, 2014

attempting to protect each of them for orchestrating the spin-off. After being left out of the first

round, Cutrona, Lutes, Wong, and Carrie Carbone (another in-house attorney) demanded to be

indemnified after the spinoff, and they drafted and signed Indemnification Agreements on or

about September 24, 2014, while back-dating their effective date to May 1, 2014, the day of the

spin-off.

       109.    The Debtors consummated the Transfers to Elevate for no consideration on or

about May 1, 2014, and Think Finance was left insolvent due to the massive Legacy Liabilities

(and payment of dividends which greatly benefitted the very same insiders).

       110.    The first Board Memo following the Elevate spin-off shows that Think Finance’s

revenue decreased by $3.0 million, EBITDA decreased by $5.2 million, and net income

decreased by $4.4 million.

       111.    Displaying the depth of their desire to prevent being prosecuted and held liable,

just six days after the spin-off on May 7, 2014, Cutrona emailed Rees, Jason Harvison, an

Executive VP at Think Finance (who subsequently became and remains Elevate’s current CEO),

and others stating that the company should think about “putting on retainer certain law firms that

might be interested in assisting states in these actions” in an attempt to create conflicts of interest

that would prevent these law firms from participating as legal counsel in lawsuits against Think

Finance and Elevate.

       112.    A May 16, 2014 internal accounting memorandum admits that Think Finance

received no consideration whatsoever from its shareholders in connection with the Elevate shares




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they received, and that Think Finance received $0.00 from Elevate for the $246.0 million in

assets transferred to Elevate as part of the scheme.

       113.    On May 27, 2014, a mere 27 days after the spin-off, the United States District

Court for the Central District of California granted the CFPB’s petition to enforce its CIDs.

       114.    Additional internal emails show that Think Finance knew all along that the

transfer of hundreds of millions of dollars in assets was subject to a fraudulent transfer challenge:

       a. An email on June 4, 2014 between Rees (Chairman of the Board of both
          companies at the time; former CEO of Think Finance and new CEO of
          Elevate), Lutes (CFO of both companies at the time), Drew (representative of
          TCV, the largest shareholder of both companies) and Wong (now CEO and
          shareholder of Think Finance) acknowledges that the wind down of Think
          Finance before five (5) years following the spin-off will affect the tax free
          nature of the spin-off for shareholders and may constitute a fraudulent
          transfer.
       b. A June 6, 2014 email between Rees, Lutes and Wong notes that: (i) in the
          event there are successful lawsuits against Think Finance with respect to tribal
          lending seeking restitution and damages, the amount of liability will likely be
          commensurate with the volume of loans made; (ii) shareholders Stinson and
          Harvison (Elevate’s current CEO) are in favor of a dividend strategy; and (iii)
          they really need to hammer home the point that they cannot wind down Think
          Finance because it will forfeit the tax free treatment, resulting in more than
          $30.0 million in tax liability.
       c. On August 14, 2014, an email between Lutes and CBIZ provides insight into
          how Think Finance and Elevate intended to cover their fraudulent tracks when
          it states “I would hate to show a big jump in the valuation so quickly after a
          spinoff . . . gradually tweak the forecast to avoid having a large jump post-
          spinoff. Maybe for the first go-around keep the forecast more similar to the
          spinoff analysis.”
       115.    On November 14, 2014, the Attorney General for the Commonwealth of

Pennsylvania filed a Complaint against Think Finance and others.

       VI.     Think Finance Distributed its Remaining Cash to Shareholders to Keep it
               from the Creditors.

       116.    In the face of the CFPB litigation and the now filed Pennsylvania lawsuit, and the

attendant industry upheaval, Think Finance awarded bonuses and increased compensation to its



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executives and then began to siphon off the remaining cash through the payment of dividends as

the final step in the scheme.

       117.    Despite having never paid dividends to its shareholders, Think Finance declared

$59,914.232.98 in dividends over a 10-month period - on April 13, 2015, November 9, 2015,

December 16, 2015, and February 2, 2016. In its zeal to remove the cash from the reach of its

creditors, Think Finance even failed to request or receive consent from VPC to make the first

round of distributions.

       118.    Consequently, even the cash that was left behind at GPLS, which could never

begin to cover the billions of dollars in Legacy Liabilities, was then taken by the officers,

directors and other shareholders who orchestrated the fraudulent transfer.

       119.    Prior to distributing the cash in the form of dividends, Richard Scheff, Esquire 8

advised Lutes and Cutrona to conceal their intention to distribute the cash from the Attorney

General for the Commonwealth of Pennsylvania because the Attorney General “will take the

view that the funds being distributed could be used for a settlement or to pay a judgment.” In

addition, Elevate and Rees had requested to be dismissed from the litigation, and Scheff warned

that disclosure “would effectively cause any dialogue to dismiss Elevate and Rees to end.”

Without the knowledge of the impending distribution, and the financial benefit it could have

offered certain consumer borrowers, the Attorney General agreed to dismiss Elevate.

       120.    Consistent with the Debtors’ expectations, on May 13, 2015, consumer borrowers

in Vermont filed a putative class action against Think Finance.

       121.    Think Finance not only received less than reasonably equivalent value as the

result of the spin-off, Think Finance, and ultimately its creditors, received nothing at all. Not a

       8
          He was with Montgomery McCracken Walker & Rhoads LLP at the time, and now is with Armstrong
Teasdale LLP.



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single dollar or any other form of consideration was given by Elevate for the more than $246

million in valuable assets it received as part of the same scheme.

       122.       Based on the opinion received from CBIZ, Elevate received at least $246.0

million in assets from Think Finance and assumed none of the Legacy Liabilities. 9 Think

Finance was left with the entirety of the Legacy Liabilities, totaling in excess of $1.13 billion,

the costs and problems associated with the winddown of the illegal tribal loan portfolio valued at

$78 million, and approximately $60 million in cash (which was immediately distributed in the

form of dividends).

       123.       In short, Think Finance was left insolvent and severely undercapitalized,

burdened with billions of dollars in Legacy Liabilities and an illegal business model, and no

funding source. Think Finance was destined to fail to the direct detriment of its creditors. The

key executives who concocted and implemented the fraudulent scheme - Rees, Lutes, Harvison,

Cutrona and others – obviously reached the same conclusion when they left Think Finance and

went to work with Elevate, the entity they created.

       124.       Less than 18 months after the spin-off, Elevate succeeded in its goal and filed an

S-1. On April 6, 2017, Elevate completed an IPO. Many of the same executives and insiders

who orchestrated the fraudulent scheme that financially decimated Think Finance pocketed

millions in dividends from Think Finance, and then acquired stock in Elevate.

       125.       Elevate has acknowledged its potential liability for the fraudulent transfer

exposure resulting from its attempt to avoid the Legacy Liabilities. Elevate’s Form 10-K for

fiscal year ended December 31, 2018 acknowledges that the spin-off could be challenged under

federal and state fraudulent conveyance laws.



       9
           CBIZ failed to include the valuable IP in the amount,

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         VII.       Think Finance Was Forced to File Chapter 11 when it Was Unable to
                    Shoulder the Legacy Liabilities and Other Burdens.

         126.       While Elevate soared as a public company, Think Finance was forced to

acknowledge the obvious consequences of the fraudulent scheme by filing Chapter 11 on

October 23, 2017.

         127.       Think Finance was overwhelmed by the Legacy Liabilities. Since the spin-off,

Think Finance essentially lost money month-after-month, and faced additional lawsuits by

putative classes in Virginia, Florida, California, North Carolina and the CFPB on behalf of 17

states

         128.       Under the terms of the confirmed Plan, the defrauded consumer borrowers

received an allowed $1.3 billion general unsecured claim.

                                            CLAIMS FOR RELIEF

                                       COUNT I
    Intentional Fraudulent Transfers under §§ 544(b) and 550 of the Bankruptcy Code
              and TUFTA § 24.005(a)(1) as to Present and Future Creditors 10

         129.       Plaintiff incorporates by this reference the allegations set forth in all preceding

paragraphs as though fully set forth herein.

         130.       The Transfers were made within four years prior to the Petition Date.

         131.       Think Finance has over a million unsecured creditors as to whom the Transfers

are voidable under applicable law and who hold an unsecured claim allowable under 11 U.S.C.

§ 502 and TUFTA (including, but not limited to 24.005 and 24.006), including federal

government entities, state government entities, tort claimants, consumer borrowers, and trade

creditors. The creditors’ claims against Think Finance arose before or within a reasonable time

after the Transfers were made.


         10
              V.T.C.A. Bus. & C. §§ 24.001 to 24.013 is being cited as “TUFTA”.

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        132.    Think Finance made the Transfers with the actual intent to hinder, delay or

defraud its creditors and/or future creditors, including the consumer borrowers.

        133.    As a result of the Transfers, Think Finance and its creditors have been harmed.

        134.    As noted above, by virtue of the Transfers, Think Finance was divested of title to

the RISE Assets (its most valuable assets), and consequently, the assets were placed out of the

reach of its creditors.

        135.    The Transfers were made to or for the benefit of Elevate.

        136.    At the time the Transfers were made, Elevate’s CEO, and Chairman of the Board,

Rees, was also the Chairman of the Board of Think Finance and the third largest shareholder.

Think Finance’s CFO Lutes and General Counsel Cutrona also moved to employment at Elevate.

As a result, the Transfers were made to insiders who were in a position to, and did in fact, control

and dominate the Elevate spin-off from Think Finance.

        137.    Think Finance made the Transfers without receiving reasonably equivalent value

in exchange for the assets transferred. Indeed, through its multi-step fraudulent scheme, Think

Finance received $0.00 in consideration for the Transfers.

        138.    Think Finance was insolvent and/or became insolvent shortly after the Transfers

were made.

        139.    The Transfers occurred shortly before and/or shortly after Think Finance incurred

substantial debts.

        140.    Indeed, based on the amount of the loan portfolio, Think Finance had over a

billion dollars of claims from federal and state regulators, and consumer borrowers, both before




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May 1, 2014 and after. In addition, the tribal loan portfolio left behind at Think Finance was

illegal, of little value, and was later voided under the Plan. 11

        141.       Under 11 U.S.C. §§ 544(b), 550(a), and TUFTA (including but not limited to

24.005 and 24.008(a)(1) and (a)(3)(C)) and other applicable law, the Trustee is entitled to, and

does now seek to, avoid the Transfers and to recover the property or value of the property

transferred to Elevate, as actual damages for the benefit of the beneficiaries of the Trust, with all

legal and allowed pre- and post-judgment interest.

        142.       Elevate’s conduct as described herein was fraudulent, wanton, malicious or

willful or undertaken with the subjective awareness of a risk of harm to others and in complete

disregard of the rights of the Debtors’ creditors. Accordingly, the Trustee seeks further relief in

the form of exemplary or punitive damages in an amount in excess of all actual damages to be

determined at trial.

                                      COUNT II
    Constructive Fraudulent Transfer under §§ 544(b) and 550 of the Bankruptcy Code
              and TUFTA § 24.005(a)(2) as to Present and Future Creditors

        143.       Plaintiff incorporates by this reference the allegations set forth in all preceding

paragraphs as though fully set forth herein.

        144.       The Transfers were made by the Debtors within four years prior to the Petition

Date.

        145.       Think Finance has over a million unsecured creditors as to whom the Transfers

are voidable under applicable law and who hold an unsecured claim allowable under 11 U.S.C. §

502, including federal government entities, state government entities, tort claimants, consumer




        11
             Approximately $336,000,000 was voided and adjusted to $0.00.



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borrowers, and trade creditors. The creditors’ claims against Think Finance arose before or

within a reasonable time after the Transfers were made.

        146.   As a result of the Transfers, Think Finance and its creditors have been harmed.

        147.   The Transfers were made by the Debtors to or for the benefit of Elevate.

        148.   By virtue of the Transfers, Think Finance was divested of title to the RISE Assets

(its most valuable assets), and consequently, the assets were placed out of the reach of its

creditors.

        149.   Think Finance received less than reasonably equivalent value in exchange for the

Transfers to Elevate as it received $0.00, and Think Finance (i) was insolvent on the date that the

Transfers were made or became insolvent as a result of the Transfers due to, among other things,

the Legacy Liabilities; (ii) was engaged in a transaction for which any property remaining with

Think Finance was unreasonably small capital; or (iii) intended to incur, or believed or

reasonably should have believed that it would incur, debts that would be beyond its ability to pay

as such debts matured.

        150.   Indeed, based on the amount of the loan portfolio, Think Finance had over a

billion dollars of claims from federal and state regulators, and consumer borrowers, both before

May 1, 2014 and after. In addition, the tribal loan portfolio left behind at Think Finance was

illegal, of little value, and was later voided under the Plan.

        151.   At the time the Transfers were made by the Debtors, Elevate’s CEO and

Chairman of the Board, Rees, was also the Chairman of the Board of Think Finance and the third

largest shareholder. Think Finance’s CFO and General Counsel, Lutes and Cutrona respectively,

also switched to Elevate. As a result, the Transfers were made to insiders who were in a position

to, and did in fact, control and dominate, the Elevate spin-off from Think Finance.



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        152.   Under 11 U.S.C. § 544(b) and § 550(a), TUFTA (including but not limited to

24.005 and 24.008(a)(1) and (a)(3)(C)), and other applicable law, the Trustee is entitled to, and

does now seek to, avoid the Transfers and to recover the property or value of the property

transferred to Elevate as actual damages for the benefit of the beneficiaries of the Trust, with all

legal and allowed pre- and post-judgment interest.

                                      COUNT III
   Constructive Fraudulent Transfers under §§ 544(b) and 550 of the Bankruptcy Code
                    and TUFTA § 24.006(a) as to Present Creditors

        153.   Plaintiff incorporates by this reference the allegations set forth in all preceding

paragraphs as though fully set forth herein.

        154.   The Transfers were made by the Debtors within four years prior to the Petition

Date.

        155.   Think Finance has over a million unsecured creditors whose claims arose before

the Transfers and as to whom the Transfers are voidable under applicable law and who hold an

unsecured claim allowable under 11 U.S.C. § 502 and TUFTA, including federal government

entities, state government entities, tort claimants and trade creditors.

        156.   The Transfers were made to or for the benefit of Elevate.

        157.   Think Finance made the Transfers without receiving reasonably equivalent value

in exchange for the assets transferred, and Think Finance was engaged or was about to engage in

a business or transaction for which the remaining assets of Think Finance were unreasonably

small in relation to the business or transaction.

        158.   Think Finance was insolvent at the time of the Transfers or became insolvent as a

result of the Transfers due to, among other things, the Legacy Liabilities.




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       159.    At the time the Transfers were made, Think Finance intended to incur, or

reasonably believed that Think Finance would incur, debts beyond its ability to pay as they

became due.

       160.    Think Finance made the Transfers to insiders, while Think Finance was insolvent,

and the insiders had reasonable cause to believe that Think Finance was insolvent.

       161.    Indeed, at the time the Transfers were made, Elevate’s CEO, and Chairman of the

Board, Rees, was also the Chairman of the Board of Think Finance and the third largest

shareholder.   Think Finance’s CFO Lutes and General Counsel Cutrona also moved to

employment at Elevate. As a result, the Transfers were made to insiders who were in a position

to, and did in fact control and dominate, the Elevate spin-off from Think Finance. As a result,

insiders were in a position to, and did in fact, control and dominate Think Finance.

       162.    As a result of the Transfers, Think Finance and its creditors have been harmed.

       163.    Under 11 U.S.C. § 544(b) and § 550(a), TUFTA (including but not limited to

24.006 and 24.008(a)(1) and (a)(3)(C)), and other applicable law, the Trustee is entitled to, and

does now seek to, avoid the Transfers and to recover the property or value of the property

transferred to Elevate as actual damages for the benefit of the beneficiaries of the Trust, with all

legal and allowed pre- and post-judgment interest.

                                        JURY DEMAND

       164.    The Trustee, on behalf of the Trust, the Debtors and their estates, demands a trial

by jury on all issues so triable pursuant to Federal Rule of Bankruptcy Procedure 9015 and

Federal Rule of Civil Procedure 38, all relevant provisions of the United States Constitution, and

all laws governing such a right.




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                                      PRAYER FOR RELIEF

       WHEREFORE, the Hon. Russell F. Nelms (Ret.), as Litigation Trustee for The Think

Finance Litigation Trust, prays for relief and final judgment as follows:

       (i) avoidance of the Transfers and compensatory damages in favor of the Trustee and

against Elevate Credit, Inc. for all damages sustained as a result of Defendant’s wrongdoing, in

an amount in excess of $246.0 million to be proven at trial, including all lawful interest thereon;

       (ii) punitive and/or exemplary damages in favor of the Trustee and against Elevate Credit,

Inc. where such damages are available consistent with the public policy supporting such damage

awards;

       (iii)    upon avoidance of the Transfers, such other relief as is available under Section

550 of the Bankruptcy Code against Elevate Credit, Inc. and any subsequent transferees of the

Transfers to the fullest extent permitted under the Bankruptcy Code;

       (iv) an additional award in favor of the Trustee and against Elevate Credit, Inc. for the

reasonable costs and expenses incurred by the Trustee in this action, including attorneys’ fees,

expert fees and all other recoverable or taxable costs; and

          (v) such other and further relief, both general and special, at law and in equity, to which

the Trustee may show himself to be justly entitled and as the Court may deem just and proper.




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Dated: October 19, 2020                           Respectfully submitted,


                                                  /s/ James W. Walker
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                                                  Attorneys for the Hon. Russell F. Nelms (Ret.)
                                                  as Litigation Trustee for The Think Finance
                                                  Litigation Trust




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 19th day of October 2020, I caused a true and correct
copy of the foregoing Amended Complaint to be served upon all parties that are registered to
receive electronic service through the court’s CM/ECF notice system in the above case.


                                                 /s/ James W. Walker
                                                 James W. Walker




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  B1040 (FORM 1040) (12/15)                                                      AMENDED
           ADVERSARY PROCEEDING COVER SHEET                                                                 ADVERSARY PROCEEDING NUMBER
                                                                                                            (Court Use Only)
                   (Instructions on Reverse)

PLAINTIFFS                                                                              DEFENDANTS
    THE HONORABLE RUSSELL F. NELMS                                                        Elevate Credit, Inc.
    (RET.), LITIGATION TRUSTEE FOR THE
    THINK FINANCE LITIGATION TRUST
ATTORNEYS (Firm Name, Address,         and Telephone No.)
                         Gary H. Leibowitz (Admitted pro hac vice)
                                                                                        ATTORNEYS (If Known)
James W. Walker (TX Bar No. 20709600)                                                    Joel Reese
Ian Ross Phillips (TX Bar No. 24091239)     Irving E. Walker (Admitted pro hac vice)     Pete Marketos
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469­557­9390 Telephone                      410­230­0660 Telephone                       214­382­9810 Telephone

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor       □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other Litigation Trust/Plaintiff
            X                                      □ Creditor    X□ Other Defendant
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Recover Transfers Pursuant To 11 U.S.C. §§ 544 And 550, And §§ 24.001 Et Seq. Of The
Texas Uniform Fraudulent Transfer Act


                                                                              NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                             □
    FRBP 7001(1) – Recovery of Money/Property                                           FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                                       □
                                                                                           61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                              □
                                                                                           68-Dischargeability - §523(a)(6), willful and malicious injury

□X 14-Recovery of money/property - other 544 and 550                                    □
                                                                                           63-Dischargeability - §523(a)(8), student loan
                                                                                           64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                        □
                                                                                              (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                                    65-Dischargeability - other


                                                                                        □
                                                                                        FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                        □
                                                                                           71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)                  72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                        □ 81-Subordination of claim or interest
                                                                                        FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                        □ 91-Declaratory judgment
                                                                                        FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                                    if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                          □ Check if this is asserted to be a class action under FRCP 23
X
□ Check if a jury trial is demanded in complaint                                        Demand $                 $246,000,000.00
Other Relief Sought Punitive Damages
     Case 20-03099-hdh Doc 19 Filed 10/19/20                        Entered 10/19/20 16:58:32               Page 46 of 46
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                  Think Finance, LLC, et al.                           17­33964
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
 Northern District of Texas                                             Dallas                          Harlin D. Hale
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
Think Finance Litigation Trust                        4H Investco LP, et al.                            PROCEEDING NO.
                                                                                                         19­03201
DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


              /s/ James W. Walker


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

           10/19/2020                                                    James W. Walker



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
